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   7 WHOLE FOODS MARKET, INC.

   8
   9                            UNITED STATES DISTRICT COURT
  10                            CENTRAL DISTRICT OF CALIFORNIA
  11 SARA SAFARI, PEYMON KHAGHANI, and                Case No. 8:22-cv-01562-JWH (KESx)
     JASON ROSE, on behalf of themselves and all
  12 others similarly situated, and FARM              DEFENDANTS’ NOTICE OF MOTION
     FORWARD, on behalf of the general public,        AND MOTION TO DISMISS
  13                                                  PLAINTIFFS’ COMPLAINT;
                    Plaintiffs,                       MEMORANDUM OF POINTS AND
  14                                                  AUTHORITIES IN SUPPORT OF
             v.                                       MOTION TO DISMISS
  15
     WHOLE FOODS MARKET, INC., a Texas                [Declaration of Jay Warren in support of
  16 corporation,                                     Motion to Dismiss, Request for Judicial
                                                      Notice, and [Proposed] Order filed
  17               Defendant.                         concurrently herewith]
  18                                                  Date:      December 9, 2022
                                                      Time:      9:00 AM
  19                                                  Place:     411 West Fourth Street
                                                                 Courtroom 9D, 9th Floor
  20                                                             Santa Ana, California 92701
  21                                                  The Honorable John W. Holcomb
  22                                                  Complaint Filed:      August 23, 2022
                                                      Trial Date:           Not Set
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   1                         NOTICE OF MOTION AND MOTION TO DISMISS
   2          TO THE HONORABLE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:

   3          PLEASE TAKE NOTICE that on December 9, 2022 at 9:00 AM, or as soon thereafter as

   4 counsel may be heard in Courtroom 9D of the above-entitled Court, located in the United States

   5 District Court, 411 West 4th Street, Santa Ana, California, defendant Whole Foods Market, Inc.

   6 (“WFMI”), will and hereby moves to dismiss the Complaint of plaintiffs Sara Safari, Peymon

   7 Khaghani, Jason Rose, and Farm Forward (collectively “Plaintiffs”) pursuant to Federal Rules of

   8 Civil Procedure (“Fed. R. Civ. P.”) 9(b), 12(b)(1), 12(b)(2) and 12(b)(6) on the following grounds:
   9          1.      Defendant WFMI moves for dismissal of the Complaint pursuant to Fed. R. Civ. P.

  10 12(b)(2) on the grounds it is not subject to personal jurisdiction in California. WFMI is a Texas

  11 holding company that does not conduct any business in California and does not have contacts with

  12 California sufficient to subject it to either general or specific personal jurisdiction.

  13          2.      Defendant WFMI moves to dismiss Plaintiffs’ claims under Fed. R. Civ. P. 12(b)(1)

  14 on the grounds that Plaintiffs lack Article III standing, and statutory standing under the UCL, FAL,

  15 and CLRA, to sue WFMI. Plaintiffs Safari, Khaghani and Rose have not alleged facts

  16 demonstrating they suffered a particularized harm as a result of WFMI’s alleged actions. Plaintiff

  17 Farm Forward has not alleged facts demonstrating a diversion of resources based on WFMI’s

  18 advertising statements. Finally, Plaintiffs lack standing to assert their claims on behalf of their

  19 proposed nationwide class because Plaintiffs lack standing to bring claims under the laws of states

  20 in which Plaintiffs do not reside and did not purchase products.

  21          3.      Defendant WFMI moves to dismiss Plaintiffs’ fraud claims under Fed. R. Civ. P.

  22 9(b) and 12(b)(6). Plaintiffs have not sufficiently alleged the when, why or how of their false

  23 advertising and fraud claims.

  24          4.      WFMI moves to dismiss Plaintiffs’ claim for unjust enrichment because California

  25 does not recognize a separate claim for unjust enrichment and because it is otherwise derivative of

  26 Plaintiffs false advertising and fraud claims, which fail for the reasons set forth above.

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   1          This Motion is made following the conferences of counsel pursuant to Civil L.R. 7-3 which

   2 took place on September 19, 2022.

   3          This Motion is based upon this Notice of Motion and Motion, the attached Memorandum of

   4 Points and Authorities, the accompanying Declaration to Jay Warren and Request for Judicial

   5 Notice, all other pleadings, papers, records and documentary materials on file in this action, and

   6 such further evidence and argument as the Court may allow at the hearing on this Motion.

   7

   8
       Dated: October 21, 2022                     BLAXTER | BLACKMAN LLP
   9
                                              By
  10                                                           /s/ Brian R. Blackman
                                                              BRIAN R. BLACKMAN
  11                                                           Attorneys for Defendant
                                                            WHOLE FOODS MARKET, INC.
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   1                        MEMORANDUM OF POINTS AND AUTHORITIES

   2                                        I.     INTRODUCTION

   3          In this action, plaintiffs Sara Safari, Peymon Khaghani, Jason Rose, and Farm Forward

   4 (collectively “Plaintiffs”) claim that defendant Whole Foods Market, Inc. (“WFMI”)

   5 misrepresented that beef products sold in Whole Foods Market stores are free from antibiotics. As

   6 a threshold matter, because this Court lacks personal jurisdiction over defendant WFMI, the case

   7 should be dismissed under Rule 12(b)(2). WFMI is a Texas holding company that does not have a

   8 presence anywhere outside of Texas. WFMI does not have any offices, bank accounts, employees
   9 or telephone numbers in California. It is not qualified to—and does not—conduct business in

  10 California and does not have an agent for service in this State. Further, WFMI does not set policies

  11 for nor control any Whole Foods Market stores. Nor does it produce the beef products at issue in

  12 this case, nor does it review or approve their labels. Quite simply, WFMI lacks any contact with

  13 California, and is not subject to general or specific jurisdiction in the State.

  14          In addition, Plaintiffs lack standing under Article III and California’s consumer statutes.
  15 Because the individual plaintiffs Safari, Khaghani and Rose, fail to allege a particularized and

  16 concrete injury, they lack Article III standing. Similarly, the organizational plaintiff, Farm

  17 Forward, fails to show how WFMI’s alleged misrepresentations forced it to divert its resources.

  18 Indeed, Farm Forward’s allegations show its investigation of Whole Foods Market stores was a

  19 continuation of its stated mission. Plaintiffs also lack standing to assert claims on behalf of a

  20 nationwide class because no plaintiff resides outside of California nor has purchased products

  21 outside of California. Because Plaintiffs lack standing, the case should be dismissed under Rule

  22 12(b)(1).

  23          Moreover, Plaintiffs’ claims, which are all based in fraud, are not alleged with the requisite

  24 particularity required by Rule 9(b). Plaintiffs fail to allege when they saw and relied upon WFMI

  25 alleged misrepresentation, why WFMI’s representations are false, and how they were damaged.

  26 Notably, Plaintiffs fail to allege any details about the alleged testing they undertook. Without

  27 these essential facts, Plaintiffs’ claims fail to meet Rule 9(b)’s particularity requirements and

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   1 should be dismissed. Lastly, Plaintiffs’ claim for unjust enrichment is not a stand-alone claim

   2 under California law and should be dismissed.

   3                      II.      SUMMARY OF ALLEGATIONS AND FACTS

   4 A.       Defendant WFMI

   5          WFMI is a Texas corporation with its principal place of business in Austin, Texas. ECF

   6 No. 1, ¶30; see also Declaration of Jay Warren (“Warren Decl.”), ¶2. WFMI does not conduct or

   7 transact any business in California or any state other than Texas, and is not qualified to do

   8 business in California or in any state other than Texas. See Warren Decl., ¶¶3-4. WFMI is a
   9 holding company that owns shares of other operating companies, some of which in turn own and

  10 operate individual Whole Foods Market stores. Id., ¶3. WFMI does not own or operate any stores

  11 in California, or any other state, has not designated an agent for service in California, and does not

  12 have any employees, office space, telephones, bank accounts or other tangible personal or real

  13 property in California. Id., ¶¶3-4 and 6.

  14          The Whole Foods Market stores located in California are owned and operated by two
  15 separate entities. Mrs. Gooch’s Natural Food Markets, Inc. (“Mrs. Gooch’s”) owns and operates

  16 the Whole Foods Market stores located in the Southern Pacific Region (generally the stores south

  17 of Fresno). See Warren Decl., ¶12. Whole Foods Market California, Inc. (“WFM CA”) owns and

  18 operates the stores located in the Northern California Region (generally the stores in Fresno and

  19 north of Fresno). Id., ¶11. The Whole Foods Market stores located in other Regions around the

  20 country are owned and operated by other corporate entities in the Whole Foods Market family of

  21 companies. Id., ¶13.

  22          WFMI does not operate, manage, or control the operations of Mrs. Gooch’s, WFM CA,

  23 nor the other operating entities. Warren Decl., ¶7. WFMI also does not set policies for any Whole

  24 Foods Market store, nor does it regulate or assure the uniformity of policies in those stores. Id.

  25 Another company, Whole Foods Market Services, Inc. (“WFM Services”), performs certain

  26 administrative task on behalf of the operating entities and operates the Whole Foods Market

  27 website, located at www.wholefoodsmarket.com. Id., ¶14.

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   1          WFMI does not design, develop or manufacture any products including the beef products

   2 sold at Whole Foods Market stores. See Warren Decl., ¶8. It does not determine what products

   3 are sold at Whole Foods Market stores, nor does it decide which suppliers, vendors, or distributors

   4 are to be used by Whole Foods Market stores. Id., ¶9. WFMI does not review or approve the

   5 labelling of any products and is not involved in any way in the labeling of products sold at Whole

   6 Foods Market stores. Id., ¶10.

   7 B.       Plaintiffs and Their Claims

   8          1.     The Individual Plaintiffs
   9          Plaintiffs Sara Safari, Peymon Khaghani and Jason Rose (collectively the “Individual
  10 Plaintiffs”) are individual consumers residing in Tustin and Moorpark, California. See ECF No. 1,

  11 ¶¶7, 14 and 21. All three allege that they purchased beef products on numerous occasions from

  12 their local Whole Foods Market stores in Southern California over the last several years. Id., ¶¶8-

  13 9, 15-16 and 22-23. They identify, in their allegations, numerous beef products sold at Whole

  14 Foods Market stores, but do not allege which of those products they purchased. Id., ¶¶7-27, 40.

  15          The Individual Plaintiff allege they believed the beef products they purchased were raised
  16 without the use of antibiotics and pharmaceuticals. Id., ¶¶10-11, 17-18 and 24-25. Specifically,

  17 they allege they relied on the marketing slogans and representations “No Antibiotics Ever” and

  18 “No antibiotics or growth hormones, ever” in making their purchases. Id. They further allege that

  19 they saw these statements on in-store signage, product labels, the Whole Foods Market website

  20 and on listings on Amazon.com. Id., ¶¶11, 18 and 25.

  21          2.     Farm Forward

  22          Plaintiff Farm Forward is a 501(c)(3) public interest organization formed in 2007 and

  23 based in Portland, Oregon. ECF No. 1, ¶28. Farm Forward alleges that its mission is to end

  24 factory farming. Id., ¶29. To that end, Farm Forward alleges that its staff and board members

  25 expended numerous hours working alongside representatives of Whole Foods Market to develop

  26 and create the criteria and standards for certifying various meat products, including beef products,

  27 as “Animal Welfare Certified” or “GAP certified” under the Global Animal Partnership’s (“GAP”)

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   1 certification program. Id., ¶¶51-57 and 83. It also alleges that it expended resources promoting

   2 Whole Foods Market’s meat products as “better” and “best” choices to consumers based on the

   3 GAP and Animal Welfare certifications. Id., ¶¶83-86.

   4          3.     Plaintiffs’ Claims

   5          Plaintiffs claim that Whole Foods Market’s antibiotic representations, and its broad

   6 marketing campaign that restates and reinforces these representations, is false and misleading.

   7 ECF No. 1, ¶¶1, 43-59. In particular, they claim that testing by plaintiff Farm Forward has found

   8 that beef products sold at Whole Foods Market contain antibiotic and other pharmaceutical
   9 residues. Id., ¶¶1-2 and 60-63. Plaintiffs do not attach their testing results, identify which beef

  10 products were tested, nor allege that they tested the beef products purchased by the Individual

  11 Plaintiffs.

  12 Regardless, the Individual Plaintiffs claim they have been injured because they would not have

  13 purchased or would not have paid as much for the beef products had they known the cattle used in

  14 the products were raised with antibiotics. Id., ¶¶13, 20 and 27. Farm Forward claims it has been

  15 injured by expending resources in the alleged development and promotion of animal welfare

  16 standards and Whole Foods Market’s meat products, and its subsequent investigation and

  17 marketing campaign to correct Whole Foods Market’s alleged misstatements. Id., ¶¶

  18          Based on these allegations, Plaintiffs assert claims of unlawful and deceptive business

  19 practices and advertising in violation of California’s Consumers Legal Remedies Act, Cal. Civ.

  20 Code §§ 1750, et seq. (“CLRA”), Unfair Competition Law, Cal. Bus. & Prof. Code §§17200, et

  21 seq. (“UCL), and False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq. (“FAL”),

  22 unjust enrichment and fraudulent concealment. ECF No. 1, ¶¶105-152. Plaintiffs bring their

  23 claims on behalf of themselves and all persons in the United States, or alternatively those in

  24 California, “who purchased a Beef Product from Whole Foods between 2017 and the present.”

  25 Id., ¶94. Plaintiffs demand restitution, actual damages, punitive damages and injunctive relief. Id.

  26 at 42:8-22.

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   1                                     III.    LEGAL ARGUMENT

   2 A.       The Court Lacks Personal Jurisdiction Over WFMI.

   3          Federal Rule of Civil Procedure (“Fed. R. Civ. P.”) 12(b)(2) allows a defendant to

   4 challenge a complaint for lack of personal jurisdiction. The determination of whether to exercise

   5 personal jurisdiction is a question of law. Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007,

   6 1019 (9th Cir. 2002). Plaintiff bears the burden of establishing that the Court has personal

   7 jurisdiction over each defendant, and is “obligated to come forward with facts, by affidavit or

   8 otherwise, supporting personal jurisdiction.” Amba Mktg. Sys. v. Jobar Int’l, 551 F.2d 784, 787
   9 (9th Cir. 1977); see also Fed. Deposit Ins. Corp. v. British-Am. Ins. Co., 828 F.2d 1439, 1441 (9th

  10 Cir. 1987). WFMI challenges and does not admit the facts pled in the Complaint. Thus, Plaintiffs

  11 cannot rely on their conclusory allegations and must set forth competent and admissible evidence

  12 establishing jurisdiction over WFMI.

  13          1.     Governing Statutory and Constitutional Principles of Personal Jurisdiction.
  14          “The general rule is that personal jurisdiction over a defendant is proper if it is permitted
  15 by a long-arm statute, and if the exercise of that jurisdiction does not violate federal due process.”

  16 Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1154 (9th Cir. 2006). Pursuant to California Code of

  17 Civil Procedure section 410.10, California’s long-arm statute reaches as far as the U.S.

  18 Constitution permits. Thus, the Court can proceed directly to the federal due process analysis.

  19 Daimler AG v. Bauman, 571 U.S. 117, 134 S. Ct. 746, 753, 187 L. Ed. 2d 624 (2014).

  20          Due process requires that the defendant have sufficient minimum contacts with the forum

  21 such that the assertion of jurisdiction in that forum “‘does not offend traditional notions of fair

  22 play and substantial justice.’” Pebble Beach, 453 F.3d at 1155 (quoting Int’l Shoe Co. v.

  23 Washington, 326 U.S. 310, 315, 66 S. Ct. 154, 158, 90 L. Ed. 95 (1945)). The minimum contacts

  24 requirement “protects the defendant against the burdens of litigating in a distant or inconvenient

  25 forum.” World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 292, 100 S.Ct. 559, 62 L. Ed.

  26 2d 490 (1980). “There are two types of personal jurisdiction: general and specific.” Goes Int’l,

  27 AB v. Dodur, Ltd., No. 14-cv-05666-LB, 2015 WL 5043296, *7 (N.D. Cal. Aug. 26, 2015) (citing

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   1 Daimler AG v. Bauman, 134 S. Ct. at 754-55). Neither type applies to WFMI.

   2          2.      WFMI Is Not Subject to the Court’s General Jurisdiction.

   3          General personal jurisdiction exists where a defendant’s business contacts with the forum

   4 state are so substantial, continuous and systematic that they “approximate physical presence.”

   5 Bancroft & Masters, Inc. v. Augusta Nat’l Inc. (“Bancroft”), 223 F.3d 1082, 1086 (9th Cir. 2000).

   6 The United States Supreme Court recently held that, absent an “exceptional case,” a corporation is

   7 “at home” (and, therefore, subject to general jurisdiction) only in its state of incorporation and its

   8 principal place of business. Daimler AG v. Bauman, 571 U.S. 117, 134 S. Ct. at 753. Thus, the
   9 defendant’s affiliations with California must be “so ‘continuous and systematic’ as to render [it]

  10 essentially at home in the forum State.” Id. (quoting Goodyear Dunlop Tires Operations v.

  11 Brown, 564 U.S. 915, 919 (2011)). This historically entailed contacts with the forum that include

  12 ownership of property, the maintenance of bank accounts, having employees, soliciting business,

  13 or having a designated agent in the state. Glencore Grain v. Shivnath Rai Harnarain, 284 F.3d

  14 1114, 1124-25 (9th Cir. 2002). WFMI does not maintain any of these types of contacts with

  15 California. See, Warren Decl. ¶¶2-5.

  16          WFMI is a Texas holding company that does not have a presence anywhere outside of
  17 Texas. Warren Decl., ¶2. It does not have any offices, bank accounts, employees nor telephone

  18 numbers in California. Id., ¶¶3-4. Further, it is not qualified to conduct business in California

  19 (and does not) and does not have an agent for service in this State. Id., ¶4. WFMI simply does not

  20 have any relevant contacts, let alone the “continuous and systematic general business contacts that

  21 approximate physical presence in” California. 1 Schwarzenegger v. Fred Marin Motor Co., 374

  22 F.3d 797, 801 (9th Cir. 1998) (internal citations omitted).

  23          3.      WFMI Is Not Subject to the Court’s Specific Jurisdiction.

  24          Specific jurisdiction “focuses on ‘the relationship among the defendant, the forum and the

  25 litigation.’” Walden v. Fiore, 134 S.Ct. 1115, 1121 (2014) (quoting Keeton v. Hustler Magazine,

  26 Inc., 465 U.S. 770, 775, 104 S.Ct. 1473, 79 L. Ed. 2d 790 (1984)). Plaintiff must prove that a

  27   1
       As discussed in Section III(A)(3) below, the California contacts of WFMI’s subsidiaries cannot
  28 be imputed to WFMI for purposes of general or specific personal jurisdiction.
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   1 nonresident defendant purposefully directed its activities or consummated some transaction in

   2 California, or performed some act by which it purposefully availed itself of the privilege of

   3 conducting activities here. Schwarzenegger v. Fred Motor Co., supra, 374 F.3d at 802. Plaintiffs

   4 also must show that their claims specifically arose out of or relate to those activities. Id.

   5 Moreover, the existence of a relationship between a parent company and its subsidiaries, without

   6 more, is not sufficient to establish specific jurisdiction over the parent on the basis of the

   7 subsidiaries’ contacts with California. Holland America Line Inc. v. Wӓrtsilӓ North America, Inc.,

   8 485 F.3d 450, 459 (9th Cir. 2007); see also Calvert v. Huckins, 875 F. Supp. 674, 678 (E.D. Cal.
   9 1995) (“it is well settled that the mere presence of a subsidiary in a forum state will not suffice to

  10 establish personal jurisdiction over a nonresident parent company.”). Plaintiffs cannot satisfy this

  11 burden as to WFMI.

  12          WFMI does not have any direct contacts with California, let alone the minimum contacts
  13 required by Int’l Shoe and its progeny. As detailed above, WFMI is a passive holding company

  14 for other operating companies. Warren Decl., ¶2. It does not own or operate any offices or stores

  15 in California, nor does it engage in any other type of commercial activity, such as advertising,

  16 marketing, distribution or sales, within California. See Warren Decl., ¶¶4-10. Further, WFMI

  17 does not set policies for or control the operating entities. Id., ¶7. It also does not produce the beef

  18 products at issue in this case, nor review or approve their labels. Id., ¶¶8 and 10. For these

  19 reasons, federal courts have held that holding companies—including WFMI, in particular—are not

  20 subject to specific jurisdiction in foreign states. M2 Software Inc. v. M2 Commc’ns, L.L.C., 149 F.

  21 App’x 612, 615 (9th Cir. 2005) (“mere fact that M2 Communications owns Viacom stock is not an

  22 ‘act’ that is aimed at California”); Eat Right Foods, Ltd. v. Whole Foods Mkt., Inc., No. C13-2174-

  23 RSM, 2014 WL 12027447, *3 (W.D. Wash. Sept. 15, 2014) (specific jurisdiction lacking over

  24 holding company); Vasquez v. Whole Foods Mkt., Inc., No. 17-cv-00112-APM, 2018 WL 810232,

  25 *7 (D.D.C. Feb. 9, 2018) (plaintiff failed to demonstrate specific jurisdiction over WFMI);

  26 Kellman v. Whole Foods Market, Inc., 313 F. Supp. 1031, 1048 (N.D. Cal. 2018) (plaintiff failed

  27 to establish either general or specific jurisdiction over WFMI). Thus, WFMI has not conducted or

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   1 directed any activity in or towards California and is not subject to this Court’s specific personal

   2 jurisdiction, and the claims against it should be dismissed.

   3 B.       Plaintiffs Fail to Plead the Necessary Facts to Establish Their Standing to Assert the

   4          Alleged Claims.

   5          Standing is a jurisdictional issue and may properly be addressed through a pleading

   6 challenge under Fed. R. Civ. P. 12(b)(1). See United States v. Hays, 515 U.S. 737, 742 (1995);

   7 see also White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000) (party may challenge standing in Rule

   8 12(b)(1) motion given that standing “pertain[s] to a federal court’s subject-matter jurisdiction
   9 under Article III.”.) Plaintiffs have the burden of establishing standing. See Colwell v. Dept. of

  10 Health & Human Servs., 558 F.3d 1112, 1121 (9th Cir. 2009).

  11          Article III’s constitutional case-in-controversy requirements necessitate that, for each claim
  12 a plaintiff must allege: (1) an injury in fact that is concrete and particularized, as well as actual and

  13 imminent; (2) that the injury is fairly traceable to the challenged action of the defendant; and (3)

  14 that it is likely (not merely speculative) that the injury will be redressed by a favorable decision.

  15 See Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 180-81 (2000). A

  16 concrete injury is one that is “distinct and palpable...as opposed to merely abstract.” Schmier v.

  17 United States Court of Appeals, 279 F.3d 817, 821 (9th Cir. 2009).

  18          A suit brought by a plaintiff without Article III standing is not a “case or controversy,” and

  19 an Article III federal court therefore lacks subject matter jurisdiction over the suit. See Cetacean

  20 Community v. Bush, 386 F.3d 1169, 1174 (9th Cir. 2004). Claims brought under California’s

  21 CLRA, UCL, or FAL must also satisfy Article III standing requirements. See Birdsong v. Apple,

  22 590 F.3d 955, n.4 (9th Cir. 2009) (citing Cantrell v. City of Long Beach, 241 F.3d 674, 683 (9th

  23 Cir. 2001)) (holding that a party asserting state law claims in federal court “must meet the stricter

  24 federal standing requirements of Article III.”).

  25 ///

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   1          1.      The Individual Plaintiffs Have Not Alleged a Particularized or Concrete

   2                  Injury.

   3          The Individual Plaintiffs claim that they were deceived by the advertising statements “No

   4 Antibiotics, Ever” and “No antibiotics or added growth hormones, ever” into believing the beef

   5 products they purchased from Whole Foods Market were raised without the use of antibiotics.

   6 ECF No. 1, ¶¶ 10, 17, 24. Plaintiffs also allege that they tested an undisclosed beef product from

   7 an undisclosed Whole Foods Market store using an undisclosed method and detected an

   8 undisclosed amount of monensin sodium in the single unspecified product. 2 Id., ¶62. Based on
   9 this single incident, Plaintiffs claim they have been injured by purchasing beef products that were

  10 raised using antibiotics. Id., ¶13, 20, 27. Notably, the Individual Plaintiffs fail to allege that the

  11 beef products they personally purchased were raised with antibiotics or even that the unspecified

  12 beef product they tested was the same beef product they purchased or that the unspecified beef

  13 product was even purchased from the same store or region where they shopped.

  14          Thus, Plaintiffs fail to show a link between the specific beef product each of them bought,
  15 the representations they viewed, and the beef product that was subjected to testing. Just because

  16 some unspecified testing of an unidentified beef product allegedly revealed an undisclosed amount

  17 of monensin sodium, it does not follow that the beef products each Individual Plaintiff bought

  18 must have also contained antibiotics. Nor does it follow that all, a substantial portion, or even

  19 more than a single sample of Whole Foods Market’s beef products contain antibiotic residues

  20 and/or were raised with antibiotics. Indeed, the slaughterhouse testing cited by Plaintiffs suggests

  21 that most cattle, eighty-five percent (85%), came from lots where no cattle tested positive for

  22 antibiotics. See ECF No. 1, ¶¶64-65.

  23          Accordingly, Plaintiffs’ alleged injuries are neither particularized nor concrete.

  24 “Particularization is necessary to establish an injury in fact,” and for “an injury to be

  25 ‘particularized,’ it ‘must affect the plaintiff in a personal and individual way.”’ Spokeo, Inc. v.

  26
     2
       As discussed in Section III(B)(2) below, none of the other testing cited by Plaintiffs is of Whole
  27 Foods Market’s beef products.

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   1 Robins, 136 S. Ct. 1540, 1547-48 (2016). Moreover, a “concrete” injury must be ‘de facto’; that

   2 is, it must actually exist.” Id. at 1548. A concrete injury must be real and not abstract. Id.

   3          In Wallace v. ConAgra Foods, Inc., the plaintiffs alleged that Hebrew National beef

   4 products were not 100% kosher beef as advertised, based on allegations that certain

   5 slaughterhouses did not follow kosher rules. See Wallace v. ConAgra Foods, Inc., 747 F.3d 1025

   6 (8th Cir. 2014). The Wallace plaintiffs tried to get around the speculation in their complaint by

   7 stating that it was “‘impossible for any reasonable consumer to detect whether purportedly kosher

   8 meat is non-kosher.” Id. at 1030. But this made no difference. The Eighth Circuit dismissed the
   9 complaint because the plaintiffs’ “allegations fail[ed] to show that any of the particular packages

  10 of Hebrew National beef they personally purchased contained non-kosher beef” and plaintiffs

  11 “gave no reason to think all the beef marked as kosher under the quota did not meet kosher

  12 standards.” Id.

  13          The Eighth Circuit emphasized it could not “discern from the complaint how many
  14 packages were tainted with non-kosher beef,” and noted that it was “unclear whether even a bare

  15 majority of Hebrew National packages were not kosher.” Id. (citation omitted). Thus, the Court

  16 found that “it is pure speculation to say the particular packages sold to the [plaintiffs] were tainted

  17 by non-kosher beef” and dismissed the complaint because “the Supreme Court has reminded lower

  18 courts that speculation and conjecture are not injuries cognizable under Article III.” Id. at 1031

  19 (citation omitted). Similarly, in Pels v. Keurig Dr. Pepper, Inc., plaintiff alleged that defendants’

  20 spring water contained excessive levels of arsenic. The district court found that plaintiff failed to

  21 plead a particularized injury because he failed to plead the spring water he purchased contained

  22 violative arsenic levels. Pels v. Keurig Dr. Pepper, Inc., No. 19-cv-03052-SI, 2019 WL 5813422,

  23 at *5 (N.D. Cal. Nov. 7, 2019).

  24          The Individual Plaintiffs cannot artfully plead around the injury in fact requirement by

  25 claiming that some other consumers allegedly purchased beef from Whole Foods Market raised

  26 with antibiotics. In Whitson v. Bumbo, consumer plaintiff alleged that the defendant manufacturer

  27 misrepresented the safety of its baby seat. See Whitson v. Bumbo, No. 07-cv-05597-MHP, 2009

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   1 WL 1515597, at *4 (N.D. Cal. Apr. 16, 2009). Although the manufacturer warned consumer to

   2 never use the seat on a raised surface, the packaging contained photos depicting babies in seats on

   3 a table. Id. at *1. After receiving reports that children had fallen out of the seat, the seat was

   4 recalled. Id. at *2. The court dismissed the plaintiff’s claim on standing grounds, concluding that

   5 she had failed to “allege any actual injury” because she did not allege that any baby fell from the

   6 seat she purchased. Id. Here, the Individual Plaintiffs similarly fail to allege any injury from the

   7 beef products they purchased. Indeed, while Individual Plaintiffs make the conclusory allegation

   8 they were economically harmed and “would not have paid the prices they did, had they known the
   9 truth that cattle used in the Products were raised with antibiotics,” they fail to show that the beef

  10 products they purchased were raised with antibiotics. ECF No. 1, ¶¶ 5, 116, 130, 136.

  11          2.      Farm Forward Lacks Standing to Assert its FAL and UCL Claims.
  12          In advancing its FAL and UCL claims, Farm Forward relies on organizational standing
  13 when it argues that its interests were hindered because WFMI allegedly falsely advertised its meat

  14 products as antibiotic free. To establish organizational standing under the FAL and UCL, Farm

  15 Forward bears the burden of showing that the advertising: (1) frustrated its organizational mission;

  16 and (2) forced Farm Forward to divert resources to avoid real harm. See Friends of the Earth v.

  17 Sanderson Farms, Inc., 992 F.3d 939, 942 (9th Cir. 2021); see also Havens Realty Corp. v.

  18 Coleman, 455 U.S. 363, 379 (1982). These are additional elements beyond that required to

  19 establish associational standing under federal law. United Food & Commercial Workers Union

  20 Local 751 v. Brown Grp., Inc., 571 U.S. 544, 552 (1996). Farm Forward fails to adequately plead

  21 the second element, diversion of resources, because it fails to adequately plead that it diverted

  22 resources to combat WFMI’s advertising versus merely going about its usual business.

  23          Organizations divert resources when they change resource allocation, not merely by going

  24 about their “business as usual.” Am. Diabetes Ass’n v. U.S. Dep.’t of the Army, 938 F.3d 1147,

  25 1154 (9th Cir. 2019.) Courts have found that merely continuing ongoing activities does not satisfy

  26 this requirement. Friends of the Earth v. Sanderson Farms, Inc., supra, 992 F.3d at 941-942

  27 (finding that advocacy groups, whose missions related to protection of human health, animal

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   1 health and the environment, failed to establish standing on their FAL and UCL claims regarding

   2 antibiotic use in chicken when the groups’ activities were continuation of their ongoing work); see

   3 also, In Defense of Animals v. Sanderson Farms, Inc. 2021 WL 4243391, at **4-5 (N.D. Cal.

   4 Sept. 17, 2021).

   5          Farm Forward repeatedly claims that its mission is “to end factory farming.” 3 See ECF No.

   6 1, ¶¶ 2, 29. It attempts to establish organizational standing by alleging that it “significantly

   7 departed” from this mission when it allegedly tested Whole Foods Markets’ beef products for

   8 antibiotics and initiated a campaign to “expose Whole Foods’ (and other) companies’ false
   9 advertising of meat.” Id., ¶ 92. Other allegations in the Complaint, however reveal that these

  10 actions constituted “business as usual” for Farm Forward because it believes evidence of

  11 antibiotics in meat demonstrates that such meat came from factory farms. For instance, Farm

  12 Forward claims that “[d]ue to their poor genetic health and the crowded conditions in which

  13 they’re confined, animals on factory farms are often given drugs in subtherapeutic doses to

  14 promote growth and keep them alive in conditions that would otherwise stunt their growth and

  15 even kill them.” Id., ¶ 37 (emphasis added).

  16          Similarly, in a Farm Forward article cited in the Complaint entitled “The Drugs Farm
  17 Forward Found Hiding in Your Meat,” Farm Forward states “[b]ecause GAP has shown a pattern

  18 of catering to the industry by welcoming modified factory farms into its program, we suspected

  19 that drugs may be present in the meat it certifies.” ECF No. 1, fn. 10 at p. 2 (emphasis added). In

  20 that same article, Farm Forward claims that it discovered two antiparasitic drugs in Whole Foods

  21 Market’s meat and that while those drugs were “technically permitted within GAP’s Animal

  22 Welfare Certified program,” they were “routinely used on factory farms” and their use was

  23 “worrisome.” ECF No. 1, fn. 10 at p. 3. Farm Forward goes on to state, “these drugs are often

  24 used prophylactically to prevent densely packed animals on factory farms from falling ill…” Id.

  25 Finally, Farm Forward opines that “[i]ts time for GAP and Whole Foods to commit to phase out

  26
       3
  27   Notably, Farm Forward fails to specifically define anywhere in the complaint (perhaps
     purposefully to avoid undermining its standing allegations) what it believes constitutes “factory
  28 farming.”
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   1 all factory farm practices for all of the operations they certify and sell, and to do more to promote

   2 plant-based alternatives…” Id.

   3          In another article cited in the Complaint entitled “Farm Forward Finds Drugs in Certified

   4 Meat at Whole Foods,” Farm Forward further reveals that its campaign against Whole Foods was

   5 merely a continuation of its core mission to end factory farming. It states:

   6                  In reality, factory farmed products dominate Whole Foods’
                      supply chain despite charging customers up to 40 percent more for
   7                  Animal Welfare Certified products. Antibiotics and other drugs are
                      used widely on factory farms to keep animals alive in cruel and
   8
                      filthy conditions that may otherwise kill them. Farm Forward’s
   9                  findings should raise serious doubts in the minds of consumers
                      about Whole Foods’ and GAP’s ability to prevent animals from
  10                  suffering on factory farms and to keep products with drug residues
                      from ending up on store shelves.
  11

  12 See ECF No. 1, fn. 16 at p. 2 (emphasis added). At the conclusion of that article in a heading

  13 entitled “End Factory Farming,” Farm Forward again opines, “It’s time for GAP’s Animal

  14 Welfare Certified program and Whole Foods to commit to stop selling factory farmed products all

  15 together. Until they stop selling factory farmed products, the best way for consumers to avoid

  16 unwanted drugs in their food is to avoid animal products whenever possible. Sign our petition…to

  17 tell Whole Foods to take factory farmed products off their shelves.” ECF No. 1, fn. 16 at p. 3

  18 (emphasis in original). These statements show that contrary to the conclusory statement in the

  19 Complaint that WFMI’s alleged misleading advertising caused Farm Forward to “depart[] from

  20 Farm Forward’s longstanding anti-factory farming focus,” Farm Forward’s repeated attacks

  21 against “Whole Foods” constituted business as usual in furtherance of its mission to end factory

  22 farming and practices it associates with factory farming. See ECF No. 1, ¶81.

  23          Farm Forward also fails to make any specific averments about what it would have done

  24 with its time and money if it had not purportedly diverted resources to counteract WFMI’s alleged

  25 advertising. Instead, Farm Forward only makes vague references to “disruption to its

  26 organizational activities” and that it “drained resources from its efforts to directly oppose and seek

  27 to curtail factory farming.” ECF No. 1, ¶¶ 81, 89. These conclusory allegations cannot support a

  28 finding of diversion of resources.
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   1          It is clear from the Complaint that the activities Farm Forward contends constitute its

   2 response to the alleged discovery of the use of pharmaceuticals in WFMI’s meat products was

   3 standard issue advocacy work by Farm Forward. As a matter of law, Farm Forward cannot

   4 establish that it “diverted resources” when its campaign against WFMI was a continuation of its

   5 ongoing work to end factory farming. It would “effectively nullify the constitutional requirement

   6 of standing” if Farm Forward could establish standing “by virtue of investigating conduct or

   7 starting a new campaign against someone who frustrates its general mission.” In Defense of

   8 Animals v. Sanderson Farms, Inc., supra, 2021 WL 4243391, at *4.
   9          3.       Plaintiffs Lack Standing to Assert Nationwide Class Claims.
  10          The Individual Plaintiffs, who are all California residents and purchased their products in
  11 Southern California (i.e., the Southern Pacific Region), attempt to assert claims on behalf of

  12 consumers nationwide. See ECF NO. 1, ¶¶7, 14, 21 and 94. Plaintiffs allege their purported class

  13 to be “[a]ll persons in the United States who purchased a Beef Product from Whole Foods

  14 between 2017 and present.” Id., ¶94. Plaintiffs also assert claims on behalf of a “California

  15 Subclass.” Id. Plaintiffs allege causes of action for violation of California’s UCL, CLRA and

  16 FAL as well as common law claims for unjust enrichment and fraudulent concealment. See gen.,

  17 ECF No. 1.

  18          Because Plaintiffs do not have Article III standing to assert claims under the laws of states

  19 in which no plaintiff resides nor has purchased products, it is appropriate to dismiss Plaintiffs’

  20 nationwide class claims at the pleading stage. Vitiosus v. Alani Nutrition, LLC, No. 21-cv-2048-

  21 MMA, 2022 WL 2441303, at *9 (S.D. Cal. July 5, 2022); see also Stewart v. Kodiak Cakes, LLC,

  22 537 F. Supp. 3d 1103, 1123-24 (S.D. Cal. 2021) (collecting cases dismissing nationwide class

  23 claims at the pleading stage). Plaintiffs also fail to assert separate causes of action for each state’s

  24 common law claims – unjust enrichment and fraudulent concealment. Separate state law claims

  25 may not be lumped together in one cause of action. See Kodiak, 537 F.Supp.3d at 1157; see also

  26 Augustine v. Talking Rain Beverage Co., Inc., 386 F. Supp. 3d 1317, 1333 (S.D. Cal. 2019)

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   1 (dismissing under Rule 12(b)(6) the plaintiff’s common law claims on behalf of a nationwide class

   2 because they failed to allege the applicable law).

   3          Even if Plaintiffs could amend their Complaint to separately allege causes of action for all

   4 fifty states, Plaintiffs do not have standing to assert claims outside of California because Plaintiffs

   5 do not reside in those other states and did not purchase products there. See Kodiak, 537 F.Supp.3d

   6 at 1125 (“No named Plaintiff alleges a connection to [the] jurisdictions where they do not reside or

   7 have not purchased Defendant’s products. Therefore, the Court finds Plaintiffs lack standing to

   8 bring claims under the laws of the states where they do not reside or did not purchase the at-issue
   9 products.”); see also Vitiosus, supra, 2022 WL 2441303, at *10 (“The question here is whether

  10 Plaintiffs have standing to hypothetically assert claims on behalf of unnamed class members under

  11 potentially forty-eight (48) other states’ laws that do not govern their own claims. They do not.”).

  12 C.       Plaintiffs’ Fraud Claims Fail for Lack of Particularity
  13          A party alleging fraud must “state with particularity the circumstances constituting fraud.” 4
  14 Fed. R. Civ. P. 9(b). This heightened standard requires a pleader state the time, place and specific

  15 content of the false representations. See Odom v. Microsoft Corp., 486 F.3d 541, 553 (9th Cir.

  16 2007). The allegations “must set forth more than neutral facts necessary to identify the

  17 transaction. The plaintiff must set forth what is false or misleading about the statement, and why

  18 it is false.” Vess v. Ciba-Geigy Corp USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (emphasis added.)

  19 “The circumstances constituting the alleged fraud [must] be specific enough to give defendants

  20 notice of the particular misconduct…so that they can defend against the charge and not just deny

  21 that they have done anything wrong.” Id. (ellipsis original and internal quotation marks omitted).

  22          “Rule 9(b) serves three purposes: (1) to provide defendants with adequate notice to allow

  23 them to defend the charge and deter plaintiffs from the filing of complaints as a pretext for the

  24 discovery of unknown wrongs; (2) to protect those whose reputation would be harmed as a result

  25   4
       Rule 9(b) applies to Plaintiffs’ fraudulent concealment claim, as well as their claims for violation
  26 of California’s CLRA, UCL and FAL. State law claims that allege a unified course of fraudulent
     conduct are “‘grounded in fraud’” or []‘sound in fraud,’ and the pleading of [those] claim[s] as a
  27 whole must satisfy the particularity requirement of Rule 9(b).” Vess v. Ciba-Geigy Corp. USA,
     317 F.3d 1097, 1103–1104 (9th Cir. 2003).
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   1 of being subject to fraud charges; and (3) to prohibit [ ] plaintiff[s] from unilaterally imposing

   2 upon the court, the parties and society enormous social and economic costs absent some factual

   3 basis.” Levay v. AARP, Inc., No. 17-cv-09041-DDP, 2019 WL 2108124, at *6 (C.D. Cal. May 14,

   4 2019) (internal quotation marks omitted).

   5          These heightened pleading requirements are equally applicable to fraud claims based on

   6 omissions or nondisclosures by a defendant. See Kearns v. Ford Motor Co., 567 F.3d 1120, 1127

   7 (9th Cir. 2009) (“Because the Supreme Court of California has held that nondisclosure is a claim

   8 for misrepresentation in a cause of action for fraud, it (as any other fraud claim) must be pleaded
   9 with particularity under Rule 9(b).”); see also Hall v. Sea World Entertainment, Inc., No. 15-cv-

  10 660-CAB, 2015 WL 9659911, at *2 (S.D. Cal. Dec. 23, 2015). Plaintiffs’ Complaint fails to meet

  11 Rule 9(b)’s heighted pleading standard because Plaintiffs fail to plead with particularity the when

  12 (when Plaintiffs heard statements from Whole Foods), the why (why those statement are false),

  13 and the how (which products Plaintiffs purchased and how were they injured).

  14          The gravamen of Plaintiffs’ claims is their contention that Whole Foods Market
  15 represented its beef products as “made from cattle raised without antibiotics,” but, in fact, “Whole

  16 Foods’ Beef Products were raised with antibiotics and other pharmaceuticals.” ECF No. 1, ¶¶109,

  17 127, 134, 140 and 144. Plaintiffs claim that they relied on Whole Foods Market’s statements prior

  18 to purchasing unspecified beef products. Plaintiffs, however, failed to state with any particularity

  19 when they heard and relied upon statements made by Whole Foods, the facts to support their

  20 conclusory allegation that Whole Foods Market’s beef products were in fact raised with

  21 antibiotics, and how they relied upon Whole Foods Market’s statements—that is, what products

  22 did Plaintiffs purchase in reliance on Whole Foods Market’s statements?

  23          Plaintiffs allege that they saw and relied upon Whole Foods’ “No Antibiotics, Ever” and

  24 “No antibiotics or added growth hormones, ever” representation. Plaintiffs, however, fail to allege

  25 when they saw and relied on these representations. By failing to plead when they saw and relied

  26 on these alleged representations, Plaintiffs fail to satisfy Rule 9(b)’s particularity requirements.

  27 Kearns, supra, 567 F.3d at 1126.

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   1          Plaintiffs also claim that Whole Foods’ representations are false because they tested “meat

   2 products” from Whole Foods Market and that their testing revealed the presence of monensin

   3 sodium in a single beef product. ECF No. 1, ¶62. This bare allegation leaves out all the

   4 particularity of the alleged fraud. The Complaint does not identify the date the beef product was

   5 purchased from Whole Foods Market or whether it came from the Southern Pacific Region, the

   6 specific beef product purchased and tested, the name of the laboratory that performed the testing,

   7 the method of testing, or the amount of antibiotic allegedly detected. 5 Without this required

   8 information WFMI cannot defend against Plaintiffs’ allegations.
   9          Plaintiffs also allude to a peer-reviewed study which they claim shows Whole Foods
  10 Market’s beef products were raised with antibiotics. ECF No. 1, ¶64. Neither the allegations in

  11 the Complaint nor the study itself, however, identify the slaughterhouse where the testing took

  12 place and there is no evidence that beef products from that slaughterhouse were sold at Whole

  13 Foods Market stores. Id., ¶64. Plaintiffs also cite to a Consumer Reports study that found

  14 antibiotic resistant bacteria in chicken. Id., ¶66. Again, antibiotic resistant bacteria in chicken

  15 does not show that beef products sold by Whole Foods Market were raised by antibiotics.

  16          The length of Plaintiffs’ Complaint should not be conflated with the particularity of
  17 Plaintiffs’ allegations of fraud. See Hall v. Sea World Entertainment, supra, 2015 WL 9659911,

  18 at *10 (“Although the FAC spends close to seventy pages discussing the conditions of the whales

  19 at SeaWorld, as well as statements purportedly made by SeaWorld related thereto, simply listing

  20 statements and saying they are false does not satisfy Rule 9(b).”). Plaintiffs must specifically

  21 allege how and why Whole Foods’ statements are false and they have failed to do so.

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         Plaintiffs also claim that testing showed the presence of fenbendazole in Beef Products
  24
       purchased from Whole Foods Market. Notably, as Plaintiffs acknowledge in their Complaint,
  25   fenbendazole is not an antibiotic and its alleged presence in beef products does not support
       Plaintiffs’ claim of deception. Even so, as with the alleged antibiotic testing, the Complaint does
  26   not identify the date the beef products were purchased from Whole Foods Market, that any of the
       tested beef products came from the Southern Pacific Region, the specific beef products, the name
  27   of the laboratory that performed the testing, the method of testing, or the amount of fenbendazole
       allegedly detected.
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   1          Additionally, Plaintiffs fail to allege they relied on Whole Foods Market’s representations.

   2 In particular, Plaintiffs fail to identify what beef product they purchased in reliance on Whole

   3 Foods Market’s statements and how they were injured. Instead, Plaintiffs lump together forty-

   4 three separate products sold by Whole Foods Market that contain beef and claim they purchased

   5 some unspecified product in reliance on Whole Foods Market’s representation. See ECF No. 1,

   6 ¶¶10, 17, 24 and 4. This does not satisfy Rule 9(b). WFMI needs to know which products

   7 Plaintiffs purchased so that it can respond to the fraud allegations. For example, some Beef

   8 Products listed by Plaintiffs are packaged and claims made on their labels would be preempted by
   9 labeling requirements in the Federal Meat Inspection Act (FMIA). See Meaunrit v. The Pinnacle

  10 Foods Group, LLC, No. 09-cv-04555 CW, 2010 WL 1838715, at *7 (N.D. Cal., May 5, 2010).

  11 Other Beef Products listed are produced and labeled by other companies and Whole Foods Market

  12 has no control of the label. These details are necessary for Whole Foods to defend itself and

  13 required by Rule 9(b).

  14 D.       Plaintiffs’ Claim for Unjust Enrichment Fails
  15          Plaintiffs’ claim for unjust enrichment should be dismissed because there is no stand-alone
  16 claim under California law. See McBride v. Boughten, 123 Cal. App. 4th 379, 387 (2004), quoting

  17 Melchior v. New Line Products, Inc., 106 Cal. App. 4th 779, 793 (2003) (stating unjust enrichment

  18 is a “general principle underlying various legal doctrines and remedies;” it is not an independent

  19 cause of action); Krause-Pettai v. Unilever United States, Inc., No. 20-cv-1672-DMS, 2021 WL

  20 1597931, at *7 (S.D. Cal., Apr. 23, 2021); Barrett v. Optimum Nutrition, No. CV21-4398-DMG

  21 (SKX), 2022 WL 2035959 (C.D. Cal. Jan. 12, 2022).

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   1                                        IV.    CONCLUSION

   2          For the reasons stated set forth above, the Court should grant WFMI’s Motion and dismiss

   3 the Complaint for lack of personal jurisdiction, lack of standing to assert the alleged claims and

   4 lack of particularity required for fraud claims.

   5

   6 Dated: October 21, 2022                       BLAXTER | BLACKMAN LLP
   7                                          By
   8                                                           /s/ Brian R. Blackman
                                                              BRIAN R. BLACKMAN
   9                                                           Attorneys for Defendant
                                                            WHOLE FOODS MARKET, INC.
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   1                                    CERTIFICATE OF SERVICE

   2         I HEREBY CERTIFY, that on October 21, 2022, I filed the foregoing electronically
     through the CM/ECF system, which caused the following parties or counsel to be served by
   3
     electronic means, as more fully reflected on the Notice of Electronic Filing:
   4

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  18

  19          I declare under penalty of perjury under the laws of the United States of America that the
       above it true and correct. Executed on October 21, 2022 in San Francisco, California.
  20

  21
                                                            /s/ Emma J. Hart
  22                                                        EMMA J. HART

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